                     Case 3:10-cv-01528-JBA Document 54 Filed 06/28/12 Page 1 of 1
                                                                                                         Civil- (Dec-2008)
                                                       HONORABLE: ARTERTON
                            DEPUTY CLERK TORDAY                       RPTR/ECRO/TAPE MONTINI
TOTAL TIME:          1       hours 15    minutes
                               DATE:  6/27/12         START TIME: 3:45           END TIME: 5:00
                                                   LUNCH RECESS         FROM:           TO:
                                           RECESS (if more than ½ hr)   FROM:           TO:

CIVIL NO. 10cv1528


            REYNOLDS                                                       BAIRD
                                                                                   Plaintiff’s Counsel
                                vs
            SUFFIELD, ET AL                                                VOCCIO
                                                                                   Defendant’s Counsel

                                         COURTROOM MINUTES- CIVIL

                   ✔ Motion hearing                        Show Cause Hearing
                         Evidentiary Hearing               Judgment Debtor Exam
                         Miscellaneous Hearing

✔ .....#37         MotionFOR SUMMARY JMT                                     granted      denied ✔ advisement
✔ .....#47         Motion FOR ORDER TO REDACT INFORMATION                    granted ✔ denied            advisement
   .....#          Motion                                                    granted      denied         advisement
   .....#          Motion                                                    granted      denied         advisement
   .....#          Motion                                                    granted      denied         advisement
   .....#          Motion                                                    granted      denied       advisement
   .....#          Motion                                                    granted      denied       advisement
   .....           Oral Motion                                               granted      denied       advisement
   .....           Oral Motion                                               granted       denied        advisement
   .....           Oral Motion                                               granted      denied         advisement
  .....            Oral Motion                                               granted      denied         advisement
   .....                 Briefs(s) due             Proposed Findings due               Response due
  .............                                                                                filed     docketed
  .............                                                                                filed     docketed
  .............                                                                                filed     docketed
  .............                                                                                filed      docketed
   .............                                                                               filed     docketed
   .............                                                                               filed     docketed
   ............                          Hearing continued until                          at
